Name &Case    2:19-cr-00642-VAP Document 238 Filed 11/10/20 Page 1 of 1 Page ID #:4314
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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA                                  CASE NUMBER:

                                                                NOS. CR 19-642-VAP/CR 20-155-VAP
                                           PLAINTIFF(S)
                          v.
IMAAD SHAH ZUBERI,                                                 NOTICE OF MANUAL FILING
                                                                         OR LODGING
                                        DEFENDANT(S).

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November 9, 2020                                           AUSA ELISA FERNANDEZ
Date                                                       Attorney Name
                                                           UNITED STATES
                                                           Party Represented

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